                                   Exhibit "A"




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                                   RECOMMENDED FOR FULL-TEXT PUBLICATION
                                        Pursuant to Sixth Circuit Rule 206
                                                File Name: 08a0055p.06

                          UNITED STATES COURT OF APPEALS
                                           FOR THE SIXTH CIRCUIT
                                             _________________


                                                                X
                                           Plaintiff-Appellee, -
   UNITED STATES OF AMERICA,
                                                                 -
                                                                 -
                                                                 -
                                                                     Nos. 06-5883/6235
                 v.
                                                                 ,
                                                                  >
   MELVIN E. DAVIS,                                              -
                                       Defendant-Appellant. -
                                                                N
                                 Appeal from the United States District Court
                              for the Eastern District of Tennessee at Knoxville.
                              No. 05-00112—Thomas A. Varlan, District Judge.
                                           Argued: September 18, 2007
                                     Decided and Filed: January 30, 2008
               Before: MOORE and GRIFFIN, Circuit Judges; TARNOW, District Judge.*
                                                _________________
                                                      COUNSEL
  ARGUED: Christopher J. Oldham, GULLEY OLDHAM, Knoxville, Tennessee, for Appellant.
  Steve H. Cook, ASSISTANT UNITED STATES ATTORNEY, Knoxville, Tennessee, for Appellee.
  ON BRIEF: Christopher J. Oldham, GULLEY OLDHAM, Knoxville, Tennessee, for Appellant.
  Steve H. Cook, ASSISTANT UNITED STATES ATTORNEY, Knoxville, Tennessee, for Appellee.
                                                _________________
                                                    OPINION
                                                _________________
           KAREN NELSON MOORE, Circuit Judge. A jury found Defendant-Appellant Melvin
  Eugene Davis (“Davis”) guilty of possession with intent to distribute cocaine base, in violation of
  21 U.S.C. § 841(a)(1), and possession with intent to distribute cocaine base within 1,000 feet of a
  public school, in violation of 21 U.S.C. §§ 860(a), 841(a)(1), and 841(b)(1)(C). The district court
  sentenced Davis to imprisonment for 240 months and 262 months, respectively; the district court
  determined that the terms would run concurrently. On appeal, Davis argues that the district court
  erred by denying his motion to suppress drugs found during his arrests on March 9, 2005 and August
  24, 2005. Also, he appeals the district court’s denial of his motion to exclude two expert witnesses
  at his trial, and the denial of his motion for a mistrial based on prosecutorial misconduct. Finally,
  for the first time on appeal, Davis objects to three statements made by the government during trial,

           *
            The Honorable Arthur J. Tarnow, United States District Judge for the Eastern District of Michigan, sitting by
  designation.

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  which he alleges constitute prosecutorial misconduct. For the following reasons, we AFFIRM the
  district court’s judgment.
                                          I. BACKGROUND
          Investigator Todd Gilreath (“Gilreath”) of the Knoxville City Police Department serves in
  the Organized Crime unit and is assigned to the Federal Bureau of Investigation’s Violent Crimes
  or Safe Streets Task Force. In the course of Gilreath’s work, informants indicated that Davis
  engaged in illegal drug activities. Before his current assignment, Gilreath came to know Davis
  during the four years that Gilreath was part of the Patrol Division of the Knoxville Police
  Department; he spent a great deal of time in the Walter P. Taylor Housing Development where
  Davis lived with his mother, Vanessa Tate. Gilreath knew Davis as “Melvin Tate,” “Little Melvin,”
  “Melvin Davis,” and later as “Agu” or “Ragu.” Joint Appendix (“J.A.”) at 669 (Suppression Hr’g
  Tr., Gilreath Test. at 7:8-16). Also, Gilreath guarded Davis periodically while he received treatment
  in the hospital after being shot in the abdomen. Although Gilreath knew that Davis used other
  names, Gilreath testified that he assumed (before March 9, 2005) that “Tate” was Davis’s legal
  surname. J.A. at 673 (id. at 11:9-17).
  A. March 9, 2005 Arrest
          On March 9, 2005, Gilreath and Lieutenant Mark Fortner (“Fortner”) of the Knoxville Police
  Department received a call from a confidential informant. The informant stated that Davis was
  “posted up” on the 2500 block of Martin Luther King Boulevard (“2500 block”), not far from where
  the officers were positioned. J.A. at 680 (id. at 18:1-2). As described by Gilreath, “posted up”
  means that a street-level crack dealer stands in a particular area so that he or she can be approached
  by buyers. J.A. at 680 (id. at 18:5-15). Gilreath knew the 2500 block to be a high crime area;
  previously, he had conducted three raids on three different businesses there.
          Gilreath and Fortner proceeded to the area described by the informant and observed Davis
  standing between 2525 and 2527 Martin Luther King Boulevard. Gilreath and Fortner parked in the
  Holiday Market parking lot; from this vantage point, they could see Davis standing in the 2500
  block. Twenty to twenty-five minutes after the officers began their surveillance, Davis entered a
  light blue Nissan Maxima; Davis drove to the Bi-Lo Market, approximately three blocks from where
  he had been standing. Gilreath and Fortner followed him and parked directly behind the Bi-Lo so
  that they could see Davis’s car, at which point Gilreath called the Organized Crime Office to
  determine if Davis had a valid driver’s license. Gilreath testified that “[t]he request was for anybody
  under the last name of Tate with a date of birth of 2-7-1980.” J.A. at 687 (id. at 25:5-6). Although
  Gilreath did not have the exact date of birth for Davis, Gilreath thought that it was during the year
  1980; when the officer conducting the computer search indicated that there was a “Tate” with a date
  of birth of February 7, 1980 on file, Gilreath said, “that has got to be it.” J.A. at 687-88 (id. at
  25:17-26:4). The check revealed that there was no driver’s license on file for an individual with the
  surname “Tate” and a date of birth of February 7, 1980.
          After receiving the license information, Gilreath observed Davis enter the Maxima again;
  Davis drove by Gilreath and Fortner, and the pair followed him. Gilreath radioed for a marked car
  because he did not have blue lights or a siren; however, before the marked car arrived, Davis pulled
  into a barbershop parking lot, exited his car, and moved towards the entrance of the establishment.
  Gilreath testified:
         I would describe it as quickly moved to the front door. I yelled for him, “hey,
         Melvin, come here.” He looked back and continued to step through the threshold of
         the door. I was literally on his heels. I stepped through the door right behind him.
         I said, hey, come here I need to talk to you for a minute. He stepped outside . . . .”


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  J.A. at 692 (id. at 30:2-8). When asked if he had a driver’s license, Davis told Gilreath that he did
  not have one. In addition, Gilreath noticed that there were bits of what appeared to be marijuana
  stuck to the thighs and abdomen area of Davis’s pants. Gilreath placed Davis under arrest. During
  the search incident to arrest, Fortner found crack cocaine in Davis’s sock.
          Gilreath had Davis’s vehicle towed and read Davis his Miranda rights in the car on the way
  to the Organized Crime Unit at the Knoxville Police Department. Gilreath indicated that after he
  read the last sentence on his card that stated the Miranda rights (“Having these rights in mind, do
  you wish to talk to me now?”), Davis stated that he “want[ed] a chance to help [him]self.” J.A. at
  699 (id. at 37:2-10). After talking with Special Agent David Bukowski (“Bukowski”) of the Federal
  Bureau of Investigation (“FBI”) and with the United States Attorney’s office, Gilreath testified that
  “[t]he decision was made that [Davis] could definitely help himself, as far as working, and he could
  provide substantial assistance against other drug dealers and violent criminals in that area.” J.A. at
  701 (id. at 39:11-15). Davis became a “confidential source” for the FBI and Knoxville Police
  Department. Id. (id. at 39:20-22).
          During the interview at the police station, Davis told Gilreath that his true, legal name was
  “Melvin Davis.” J.A. at 702 (id. at 40:9-11). A license check under this name revealed that Davis’s
  license had been suspended.
  B. August 24, 2005 Arrest
           Bukowski and Gilreath’s offices adjoined, and they continued to stay in contact with each
  other and with Davis after March 9, 2005. Gilreath testified that the officers “constantly” asked
  Davis if he had obtained his driver’s license. J.A. at 704-05 (id. at 42:25- 43:4). Also, Gilreath
  testified that Davis indicated that it was going to cost “a tremendous amount of money.” J.A. at 705
  (id. at 43:7-8). “[H]e asked us if we could help him get his license reinstated, maybe put him on a
  deal so he could actually be paid for some of the work that he was doing in order to help obtain some
  money to get his driver’s license status.” J.A. at 705 (id. at 43:8-12).
          About one week before August 24, 2005, Gilreath received information that Davis was
  “starting to get back into the business.” J.A. at 706 (id. at 44:16). On the morning of August 24,
  2005, a reliable, confidential informant called Gilreath to tell him that Davis was on the same 2500
  block smoking marijuana in a black Jeep Cherokee; as Gilreath and Sergeant Brian Malone
  (“Malone”) proceeded to the location in an unmarked car, Gilreath received another phone call from
  the same source stating that Davis was there with two “young girls.” J.A. at 707-08 (id. at 45:2-25,
  46:21-24). Davis pulled out of the parking lot and the officers followed him; they observed Davis
  driving the vehicle and two females who “appeared to be juveniles” in the front and rear passenger
  seats. J.A. at 709-710 (id. at 47:19-48:1). Although they had not run Davis’s name through the
  database to determine if he had obtained a valid license, Malone requested a marked car in order to
  do a traffic stop; Gilreath and Malone did not have the necessary equipment for such a traffic stop.
  Gilreath testified that they “could see an exchange between the two people in the front seat of the
  vehicle”; Malone also requested a female officer for a search. J.A. at 710 (id. at 48:9-21).
         When Davis pulled the vehicle into the student drop-off section of the Austin East High
  School, Gilreath and Malone “pulled right directly in behind him.” J.A. at 711 (id. at 49:7).
  Gilreath went to the passenger side and Malone went to the driver’s side; Gilreath testified that
  Malone asked Davis if he had a license and Davis stated that he did not have one. Gilreath smelled
  the odor of marijuana coming from the vehicle and saw some marijuana on the Jeep’s console.
  Gilreath asked the young woman in the front passenger seat, “[D]o you have anything on you?” J.A.
  at 713 (id. at 51:7). Gilreath testified that the young woman, later identified as Ranisha Ewing
  (“Ewing”), stated that Davis had given her something to hold onto; she opened her purse to reveal
  a baggie of crack cocaine. The officers then placed Davis under arrest.


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  C. Motion to Exclude Expert Testimony of Forensic Chemists at Trial
           The government sought to introduce the expert testimony of two forensic chemists: Sharon
  Silvers and Celeste White. The court’s “Order on Discovery and Scheduling” directed as follows:
  “Unless otherwise ordered by the Court, any disclosure of expert information required by Rule
  16(a)(1)(G), Fed.R.Cr.P., shall be made by the government at least three (3) weeks before trial. Any
  disclosures required by Rule 16(b)(1)(C) shall be made by defendant at least one (1) week before
  trial unless the Court orders otherwise.” J.A. at 43 (10/3/05 Order at 3). The district court instructed
  the parties that all pre-trial motions had to be made by March 10, 2006. On the second day of trial,
  defense counsel objected to the testimony of the chemists because the government allegedly failed
  to provide the bases for the chemists’ opinions in accordance with the Discovery Order and Federal
  Rule of Criminal Procedure 16(a)(1)(G). Defense counsel stated:
         The problem is that all I got from the government in this case[,] all I received, Your
         Honor, about this is a document that looks like this which is a conclusory document.
         It says here is what it is and here is what it weighs. None of the underlying tests that
         tell me how they got there. Mind you, Rule 16 not only says that I am entitled to a
         summary, but that summary provided under this subparagraph must describe the
         witness’ [sic] opinions, the basis and the reasons for those opinions and the witness’
         [sic] qualifications. This certainly does none of the above, Your Honor. . . . Just
         because I have been provided with a report that says it is cocaine and that there is 3.8
         grams of it doesn’t mean that has given me sufficient information to cross-examine
         this witness.
  J.A. at 358-59 (Trial Tr. at 223:11-21, 224:6-10).
          Defense counsel showed the district court two letters, one dated March 2, 2005 and one dated
  March 6, 2005, that he contended specifically asked for information necessary for the government
  to be in compliance with Rule 16(a)(1)(G). J.A. at 357 (id. at 222:8-17). These letters were
  mistakenly dated 2005; the actual year was 2006. The letter, addressed to Assistant United States
  Attorney Cook (“Cook”) of March 2 states, in relevant part: “By this letter, please be advised that
  I am requesting that you provide me with a written summary of any testimony that you intend to use
  under Rules 702, 703, or 705 of the Federal Rules of Evidence. I believe that this information is
  covered under the Standing Discovery Order and under my previous discovery request.” J.A. at 810
  (3/2/06 Ltr. to AUSA Cook). On March 6, defense counsel sent another letter to Cook, stating in
  relevant part:
         As I was going through my file, I noticed that I had not received an item that I had
         previously requested regarding a 16(a)(1) item, specifically:
         “The reports, results, and opinions of expert examinations, tests, experiments and
         analysis done on any person or physical items or other evidence in connection with
         this case. See Barbee v. Warden of Maryland Penitentiary, 331 F.2d 842 (4th Cir.
         1964); Norris v. Slayton, 540 F.2d 1241 (4th Cir. 1976).”
         If you could get this information over to me at your earliest convenience, it would
         be greatly appreciated. If you did not consider my previous requests to be formal
         requests, please consider this request to be a formal request.
  J.A. at 811 (3/6/06 Ltr. to AUSA Cook). Defense counsel argued that he not only had written the
  letters, but also had raised the issue on several occasions with the presiding magistrate judge:
         Your Honor, mind you, during this entire time we have gone back before Magistrate
         Shirley on several occasions. At each time I, quite frankly, get chewed out a little

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           bit because Magistrate Shirley keeps telling me, Mr. Oldham, this is the
           government’s obligation. The government knows what it is supposed to provide.
           The government is supposed to get you this information and their failure to do so is
           done at their own peril with the possibility this evidence might be excluded, if they
           fail to disclose it properly.
  J.A. at 357-58 (Trial Tr. at 222:8-223:2). Defense counsel suggested that the proper remedy was
  to “exclude these witnesses from testifying.” J.A. at 360 (id. at 225:12).
          Cook argued that the disclosure he provided in this case was “the same disclosure” that he
  had “made in every drug case” that he had “prosecuted for the last 20 years.” J.A. at 361 (id. at
  226:3-7). The government introduced its first discovery letter, dated October 11, 2005, that it sent
  to Davis’s original counsel, Paula Voss. The letter indicated that its purpose was to “comply with
  rule 16 of the Federal Rules of Criminal Procedure and the Court’s discovery order.” J.A. at 99
  (10/11/05 Ltr. to Paula Voss at 1). The letter included a copy of the “Tennessee Bureau of
  Investigation Knoxville Crime Laboratory Official Forensic Chemistry Report dated 8/19/05.” J.A.
  at 99 (id.). Also, the letter stated: “If this case goes to trial, the United States will call expert
  witnesses to testify. A chemist will testify consistent with the laboratory report. The chemist’s
  testimony will be based on training, including formal education, and experience, including having
  conducted numerous such examinations.” J.A. at 100 (id. at 2). The government sent a follow-up
  letter on October 26, 2005 that stated, in relevant part: “If you believe I have failed to provide
  anything that is discoverable under rule 16 of the Federal Rules of Criminal Procedure or the Court’s
  discovery order, please let me know right away.” J.A. at 102-03 (10/26/05 Ltr. to Christopher
  Oldham at 1-2).
          Finally, the government introduced a letter from March 22, 2006, which stated in relevant
  part: “If there are any other discovery requests or issues that have not been resolved, please let me
  know immediately. . . . Please also accept this letter as a request to stipulate the drug analysis.” J.A.
  at 105. On March 28, 2006, the government filed its “Notice of Expert Testimony Pursuant to Rule
  16 of the Federal Rules of Criminal Procedure.” J.A. at 93-95. This document stated, in relevant
  part:
           Chemists: These individuals have received bachelor’s degrees. In addition, they
           have received specialized training in the identification of controlled substances.
           They have also conducted hundreds of forensic examinations, successfully
           identifying the presence, type and weight of controlled substances. These
           individuals will testify as experts in the field of forensic chemistry consistent with
           the laboratory reports that have previously been provided. The findings of each
           chemist are based upon his/her education, training,     experience and scientific tests
           he/she performed on the substances submitted.1
  J.A. at 94-95 (Notice of Expert Test. at 2-3).
         The district court held that the documents provided by the government (and described above)
  demonstrated compliance with Rule 16(a)(1)(G). In addition, the district court ruled that it would
  be inappropriate to exclude the testimony of the chemists as a remedy. However, “out of an
  abundance of caution,” the district court requested that the chemists provide their notes to defense
  counsel. J.A. at 374-75 (Trial Tr. at 239:4, 240:6-9). Defense counsel protested that he did not

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            Chemist Silvers testified that she had “never” turned over her notes for discovery purposes, and that the
  prosecutor in this case had never asked her for the notes until the second day of trial (after the district judge asked the
  prosecutor to determine if the chemist had brought her notes with her so that she could share them with defense counsel).
  J.A. at 473 (Trial Tr. at 338:9-24).

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  “have the training to look at” the notes. J.A. at 375 (id. at 240:17-18). Defense counsel stated:
  “Your Honor, I mean, this is what I am looking at; wavy numbers, centimeters. I don’t even know
  what questions to ask, Your Honor.” J.A. at 375 (id. at 240:20-22). The court specifically asked:
  “Do you have any other proposals short of the requested sanctions you made [to exclude the
  chemists’ testimony completely]?” J.A. at 375 (id. at 240:23-24). Davis’s counsel did not bring
  forth any other proposals and declined the court’s invitation to recess until the following day. The
  record does not indicate that defense counsel had a chemist prepared to testify at the trial.
  D. Prosecutorial Misconduct
           1. Objection During Trial to Alleged Prosecutorial Misconduct
          During the trial, defense counsel asked Gilreath at least four times whether Ewing (one of
  the young women in Davis’s Jeep before his arrest on August 24, 2005)2had been charged, or would
  be charged, in connection with the events at issue on August 24, 2005; each time defense counsel
  received the same or similar answers. After this series of questions, Cook stated that he would
  stipulate to the fact that there was no prosecution of Ewing. The following exchange occurred:
           THE COURT:                 You still want to ask the question?
           MR. OLDHAM:                I think Mr. Cook just answered it for me.
           THE COURT:                 Go on to the next question.
           MR. OLDHAM:                Perhaps Mr. Cook can answer this one too. Is anyone
                                      prosecuting Ms. Geisha Bolden, the other girl in the car?
           MR. COOK:                  We don’t prosecute innocent people. Irrelevant.
           MR. OLDHAM:                Objection. Your Honor, I want to move for mistrial based on
                                      that comment right there. That is improper. He is trying to
                                      influence the jury improperly.
  J.A. at 270 (Trial Tr. at 135:12-25).
           2. Three Instances of Alleged Prosecutorial Misconduct Raised For the First
              Time on Appeal
          Davis raises three instances of alleged prosecutorial misconduct to which his defense counsel
  did not object during the trial. First, Davis objects to statements in closing argument made regarding
  Ewing, one of the occupants of his car on August 24, 2005. Assistant United States Attorney
  Plowell (“Plowell”) stated:


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            Q.        What was Ms. Ewing charged with?
            A.        Nothing at this time.
  J.A. at 265 (Trial Tr., Gilreath Test. 130:3-4).
            Q.        We have gone eight months and she has not picked up a charge?
            A.        That is correct.
  J.A. at 265 (id. at 130:23-25).
            Q.        And you would be aware of it [a pending prosecution of Ewing], if it occurred?
            A.        I would think so.
  J.A. at 266 (id. at 131:3-4).
            Q.        To the best of your knowledge, who is handling anything going on from your—if you know,
                      who is handling the prosecution or potential prosecution of Ms. Ewing? Do you know who
                      that is?
            MR. COOK:                    Objection. Asked and answered. There is no prosecution. It has been
                                         established and covered and covered and covered.
            MR. OLDHAM:                  That is sort of what I wanted to get to.
            MR. COOK:                    No question about it. I will stipulate to it.
  J.A. at 270 (id. at 135:1-11).

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           She is also young, unsophisticated, notwithstanding her appearance. I submit to you,
           ladies and gentlemen, she is very easily confused. She was scared. She told you the
           defendant was giving her mean looks when she was testifying, the kind of thing that
           as adults we would likely ignore, but still the kind of thing that frightens a 16 year
           old, I submit to you.
                   She didn’t even know her own lawyer’s last name. When the defense asked
           her if she knew Mr. Poston, she said, no. Because she clearly knows him, but she
           knows him as Bruce. Does that make her less worthy of belief, ladies and
           gentlemen? I submit to you, it doesn’t. She was asked if she had a deal with the
           government. Initially she says, yeah, I have a deal. Later she clarified. Again, she
           was confused, she was mistaken. There was no deal. That was further confirmed by
           her attorney Bruce Poston, no deals.
                   The defendant I expect will argue she is getting some sort of benefit for not
           being prosecuted because of her testimony, but, ladies and gentlemen, recall Mr.
           Poston. No deals were made. There were no promises. Why were there no deals
           and no promises, ladies and gentlemen? Because the credible evidence, I submit,
           pointed to the defendant. Does the confusion of a 16 year old make her less worthy
           of belief? Don’t we all get confused some of the time? Of course, we do. We are
           people, we are not robots. Ranisha corrected her misstatements when she was given
           the opportunity to do so. Those are hallmarks of her credibility.
  J.A. at 816-17 (Trial Tr., Gov’t Closing Arg. at 24:7-25:10).
          Second, Davis objects to Cook’s statement during closing argument that Fortner and Gilreath
  “are sworn dedicated public servants who serve our community every day and risk their lives every
  day to serve us. To have him come into this courtroom without a shred of evidence and suggest to
  you, to suggest to you that they lied, to suggest to you they fabricated evidence and to suggest to you
  that their work was shoddy is wholly unfounded and offensive, as I said.” J.A. at 819 (id. at 47:1-8).
           Finally, Davis objects to Cook’s statements during closing argument regarding Ewing and
  Davis:
           Ladies and gentlemen, one of those two people, Ranisha or Melvin Davis, one of
           those two is an immature adult, immature in an adult body who was being taken
           advantage of. The other one is a predator who was selling poison in our community.
           I want to remind you that it’s your job to make credibility determinations. It is your
           job to determine who is telling the truth.
  J.A. at 821 (id. at 52:6-12).
  E. Procedural Background
          Davis was indicted on September 20, 2005 on one count of possession with intent to
  distribute cocaine base in violation of 21 U.S.C. §§ 841(a)(1) and 841(B)(1)(C). On October 18,
  2005, a superseding indictment added a second count: possession with intent to distribute cocaine
  base “on and within 1,000 feet of the real property comprising Austin East High School, a public
  secondary school” in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 860. J.A. at 22
  (Superseding Indictment). The magistrate judge issued an order regarding discovery and scheduling
  on October 3, 2005. On October 31, 2005, Davis filed a motion to suppress evidence related to his
  arrests on March 9, 2005 and August 24, 2005. The magistrate judge held a hearing on December
  16, 2005, at which the court heard testimony from Investigator Todd Gilreath, Vanessa Tate (Davis’s
  mother), Melvin Davis (Davis’s father), and Davis. The magistrate judge issued a Report and

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  Recommendation recommending denial of the motion to suppress. Although Davis filed objections
  to the Report and Recommendation, the district judge issued an opinion adopting the
  recommendations of the magistrate judge.
          On March 28, 2006, the government filed a “Notice of Expert Testimony Pursuant to Rule
  16 of the Federal Rules of Criminal Procedure.” J.A. at 93-95. The district court held a jury trial
  from April 18 to April 20, 2006. During trial, Davis moved for a mistrial based on the statement of
  Cook that the government did not prosecute “innocent people.” J.A. at 270 (Trial Tr. at 135:20-25).
  Davis renewed this motion on May 1, 2006; the district court denied the motion on June 27, 2006.
                                    II. MOTION TO SUPPRESS
  A. Standard of Review
          When reviewing a district court’s decision on a motion to suppress, we use a mixed standard
  of review: we review findings of fact for clear error and conclusions of law de novo. United States
  v. Foster, 376 F.3d 577, 583 (6th Cir.), cert. denied, 543 U.S. 1012 (2004). We review the evidence
  “in the light most likely to support the district court’s decision.” Id. (quoting United States v.
  Navarro-Camacho, 186 F.3d 701, 705 (6th Cir.1999)).
  B. Applicable Search and Seizure Law
          Police and citizens may have three types of permissible encounters: “(1) the consensual
  encounter, which may be initiated without any objective level of suspicion; (2) the investigative
  detention, which, if non-consensual, must be supported by a reasonable, articulable suspicion of
  criminal activity; and (3) the arrest, valid only if supported by probable cause.” United States v.
  Waldon, 206 F.3d 597, 602 (6th Cir. 2000) (quoting United States v. Avery, 137 F.3d 343, 352 (6th
  Cir. 1997)). In the first type of encounter, law enforcement officers may ask citizens “general
  questions without having any reasonable suspicion of criminal activity, so long as the officers refrain
  from the type of intimidating behavior that would lead a reasonable person to believe that the person
  was not free to leave.” Id. at 603; see Foster, 376 F.3d at 584. “Whether an encounter between a
  police officer and a citizen is consensual depends on the officer’s objective behavior, not on any
  subjective suspicion of criminal activity.” Waldon, 206 F.3d at 603.
          The second type of encounter follows the framework of Terry v. Ohio, 392 U.S. 1 (1968),
  and its progeny. “Terry . . . permits a police officer briefly to detain a person or property for
  investigative purposes if the officer has a reasonable suspicion, supported by articulable facts, that
  criminal activity has occurred or is about to occur.” United States v. Davis, 430 F.3d 345, 354 (6th
  Cir. 2005) (citing Farm Labor Org. Comm. v. Ohio State Highway Patrol, 308 F.3d 523, 543-44 (6th
  Cir. 2002)). We engage in a two-part analysis when evaluating the constitutionality of a Terry stop.
  First, we determine “whether there was a proper basis for the stop, which is judged by examining
  whether the law enforcement officials were aware of specific and articulable facts which gave rise
  to reasonable suspicion.” Id. (quoting United States v. Garza, 10 F.3d 1241, 1245 (6th Cir. 1993)).
  We examine the totality of the circumstances in order “to determine the reasonableness of the
  investigatory stop.” Id. (citing United States v. Bailey, 302 F.3d 652, 658 (6th Cir. 2002)). We may
  take into consideration the crime level of the area as a “contextual consideration[].” Illinois v.
  Wardlow, 528 U.S. 119, 124 (2000). Also, tips from reliable informants may be used as the basis
  for a Terry stop. Adams v. Williams, 407 U.S. 143, 147 (1972) (“[W]e reject respondent’s argument
  that reasonable cause for a stop and frisk can only be based on the officer’s personal observation,
  rather than on information supplied by another person.”).
          Second, we examine “whether the degree of intrusion . . . was reasonably related in scope
  to the situation at hand, which is judged by examining the reasonableness of the officials’ conduct
  given their suspicions and the surrounding circumstances.” Davis, 430 F.3d at 354 (quoting Garza,

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   10 F.3d at 1245). Thus, we must determine (1) if the detention was “sufficiently limited in time”
   and (2) if “the investigative means used the least intrusive means reasonably available.” Id. (quoting
   Bennett v. City of Eastpointe, 410 F.3d 810, 825-26 (6th Cir. 2005)).
   C. March 9, 2005 Arrest
            The district court analyzed the interaction between Gilreath and Davis on March 9, 2005
   under two frameworks: (1) a reasonable, articulable suspicion under Terry and its progeny, and (2) a
   consensual encounter that led Gilreath to develop probable cause. Under each framework, the
   district court denied the motion to suppress the drugs found on Davis’s person. Davis argues that
   “[a] driver’s license inquiry only on the name ‘Tate’ which returns a ‘Not on File’ response is
   insufficient to establish reasonable suspicion or probable cause for the traffic stop.” Appellant Br.
   at 20. In addition, Davis argues that the district court predicated its analysis on Gilreath’s lack of
   reasonable suspicion; therefore, he argues that the district court should have concluded that the stop
   was unconstitutional under Terry. Finally, Davis argues that because Gilreath intended to arrest
   Davis, “there is no way that a court could conclude that the encounter was ever ‘consensual’ in any
   form that the term may be considered.” Appellant Br. at 23.
            We conclude that Gilreath formed a reasonable suspicion before approaching Davis on
   March 9, 2005. First, Gilreath obtained specific and articulable facts that gave rise to a reasonable
   suspicion: (1) a reliable informant indicated that Davis was “posted up” at a specific location and
   Gilreath observed Davis standing at that exact location for twenty to twenty-five minutes, J.A. at 680
   (Suppression Hr’g Tr., Gilreath Test. at 18:1-2); (2) Davis was “posted up” in a high crime area, J.A.
   at 681 (id. at 19:4-14); and (3) a check (using what the officer believed to be Davis’s last name and
   birth date) revealed that Davis did not have a license on file. J.A. at 688 (id. at 26:8-11). The
   totality of the circumstances indicates that Gilreath appropriately formed a reasonable suspicion.
           Davis argues that the officer could not have formed a reasonable suspicion based upon the
   license check because he mistakenly used the surname “Tate” instead of Davis’s legal surname,
   “Davis.” Such a mistake seems reasonable given the circumstances. After years of knowing Davis,
   Gilreath associated him with several names (Little Melvin, Melvin Tate, Melvin Davis, Agu, and
   Ragu); Gilreath testified that he assumed that “Melvin Tate” was Davis’s legal name. J.A. at 724,
   730 (id. at 62:8-15, 68:15-18). Although Davis testified that he “never ever” used the name “Tate,”
   J.A. at 770 (Suppression Hr’g Tr., Melvin Davis Test. at 108:15), and his mother testified that her
   son had never used the name “Tate,” J.A. at 755-56 (Suppression Hr’g Tr., Vanessa Tate Test. at
   93:25- 94:10), Davis’s father testified that there was a “mix up” as to Davis’s true last name. J.A.
   at 768 (Suppression Hr’g Tr., James Davis Test. at 106:9). When the prosecutor asked Davis’s
   father about his visit with Davis a few years earlier in the hospital after Davis had been shot in the
   abdomen, the following exchange occurred:
          Q. Would it surprise you to find out he was using the name Tate with the police
             and in the news media and in the hospital?
          A. I honestly, what I thought, I thought it was a mix up of people not knowing
             whether his name was Tate or Davis. I didn’t know if—I didn’t have any idea
             he would change is [sic] his name. I thought it was some people is thinking he
             was automatically Tate because most the time he stayed with his mother. That
             is where I thought the mix up was.
          Q. There was a mix up?
          A. There definitely was a mix up.
          Q. No question some people misunderstood what his real name was?
          A. Yes, sir.




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   J.A. at 767-68 (id. at 105:23-106:12). To further illustrate that there was confusion about Davis’s
   legal surname, the government introduced as its Exhibit No. SH-1 a booking photo of Davis from
   January 21, 1999 with the name “Melvin Eugene Tate” and a date of birth of “2-7-80.” J.A. at 674
   (Suppression Hr’g Tr., Gilreath Test. at 12:8-10). Davis identified this photo as one of himself, as
   did his mother and father. Thus, we conclude that, given the confusion about Davis’s true surname,
   Gilreath’s mistaken use of the surname “Tate” for Davis did not affect Gilreath’s ability to use the
   results of the license check to help him form a reasonable suspicion of Davis sufficient to justify a
   Terry stop.
            Regarding the second part of the Terry-stop analysis, we conclude that Gilreath and Fortner
   approached Davis in a manner reasonably related to the scope of the situation at hand. Because
   Gilreath did not have a blue light or siren in his car, he radioed for a marked car with citation
   materials; he did not conduct a traffic stop. However, before the marked car arrived, Davis pulled
   into a barbershop parking lot. When Davis exited his car, Gilreath exited his own car and called out
   to Davis: “[H]ey, Melvin, come here.” J.A. at 692 (id. at 30:3). As Gilreath came up behind Davis
   Gilreath said, “[C]ome here I need to talk to you for a minute.” J.A. at 692 (id. at 30: 6-7). Davis
   stepped into the parking lot with Gilreath. The detention here was extremely brief because Davis
   admitted that he did not have a valid license and Gilreath noticed what appeared to him to be bits
   of marijuana stuck to the thighs and abdomen area of Davis’s pants. In addition, the investigative
   means used were minimally intrusive; the officer asked questions and did not have physical contact
   with Davis. Thus, based on the reasonable suspicion formed by the officers involved, we affirm the
   district court’s denial of Davis’s motion to suppress.
            Finally, we conclude that Davis misunderstood the district court’s ruling—the district court
   did not state that there was no reasonable suspicion in this case; rather, it gave an alternate holding.
   The district court stated: “[E]ven assuming the absence of reasonable suspicion, the Magistrate
   Judge concluded that Investigator Gilreath’s initial contact with defendant at the barbershop was a
   consensual encounter.” J.A. at 88 (Dist. Ct. Op. at 9). In this case, unlike Waldon, Gilreath
   indicated that he wanted to talk with Davis by using the imperative “come here,” instead of asking
   a question. J.A. 692 (Suppression Hr’g Tr., Gilreath Test. at 30:3-7). The record on appeal does
   not indicate whether this phrasing may have caused Davis to feel that he was not free to leave or to
   refuse to respond to Gilreath—Davis did not testify as to the events of March 9, 2005 during the
   suppression hearing and Gilreath did not indicate in his testimony that his manner was “intimidating
   or coercive.” See Waldon, 206 F.3d at 603. However, the magistrate judge found (and the district
   court adopted the finding) that there was no evidence that “Gilreath acted in an intimidating manner
   such that a reasonable person would not have felt free to leave.” J.A. at 58 (R & R at 13). Because
   there is nothing to indicate a clear error in the findings of fact of the district court, we affirm the
   district court’s alternate ruling; thus, the interaction between Davis and Gilreath falls within the
   bounds of a consensual encounter. See Waldon, 206 F.3d at 603.
   D. August 24, 2005 Arrest
           The district court held that because the officers formed a reasonable suspicion on August 24,
   2005 the motion to suppress should be denied. Davis argues that the district court erred in denying
   his motion to suppress the cocaine base discovered on August 24, 2005 because Gilreath relied upon
   “stale” information when he failed to re-run a check on Davis’s driver’s license status; Gilreath
   “could not articulate a time” when he asked Davis about the status of his license, nor did he “know
   if another license check had ever been performed since the March 6[sic], 2005 inquiry.” Appellant
   Br. at 30.
          We conclude that the officers’ encounter with Davis on August 24, 2005 meets both parts
   of the Terry analysis; therefore, it was appropriate for the district court to deny the motion to
   suppress. First, Gilreath obtained specific and articulable facts that gave rise to a reasonable


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   suspicion: (1) a reliable informant indicated that Davis was using an illegal substance with two
   minors, and another informant had indicated within the past week that Davis had begun to sell illegal
   drugs again; (2) officers had asked Davis numerous times if he had obtained a driver’s license and
   each time he indicated that he had not done so; and (3) Gilreath and Malone observed some type of
   exchange between Davis and the young woman in the passenger seat. With this knowledge,
   Investigator Gilreath appropriately formed a reasonable suspicion based on specific and articulable
   facts. In addition, as with the March 9, 2005 incident, the officers used an unobtrusive method:
   approaching the vehicle Davis was driving once it had parked. Upon approaching Davis, Gilreath
   developed probable cause for an arrest based on the marijuana in plain view on the console of the
   vehicle and Davis’s admission that he did not have a valid driver’s license. Davis does not argue
   that he had a reasonable expectation of privacy in the purse of the minor, Ewing, in the passenger
   seat of the Jeep that he drove on August 24, 2005; therefore, we need not address the government’s
   arguments regarding the defendant’s lack of a reasonable expectation of privacy in the purse. Based
   on the foregoing, we affirm the district court’s denial of Davis’s motion to suppress.
             III. MOTION TO EXCLUDE TESTIMONY OF EXPERT WITNESSES
   A. Standard of Review
           “We review the district court’s admission or exclusion of evidence for an abuse of
   discretion.” United States v. Ganier, 468 F.3d 920, 925 (6th Cir. 2006) (quoting United States v.
   Perry, 438 F.3d 642, 647 (6th Cir.), cert. denied, – U.S. – (2006)). However, “[i]n reviewing a trial
   court’s evidentiary determinations, this court reviews de novo the court’s conclusions of law and
   reviews for clear error the court’s factual determinations that underpin its legal conclusions.” Id.
   (quoting United States v. Baker, 458 F.3d 513, 516 (6th Cir. 2006) (internal quotation marks
   omitted)). We have held that these standards “are not in fact inconsistent, because ‘it is an abuse
   of discretion to make errors of law or clear errors of factual determination.’” Id. (internal quotation
   omitted).
            “[S]uppression of evidence must be viewed as an undesirable remedy [for a discovery
   violation] reserved for cases of incurable prejudice or bad faith conduct demanding punishment by
   the court.” United States v. Maples, 60 F.3d 244, 247 (6th Cir. 1995). There are several factors for
   an appellate court to consider when “deciding whether suppression of evidence is an appropriate
   remedy to be imposed for a discovery violation:” “(1) the reasons for the government’s delay in
   producing the materials, including whether it acted intentionally or in bad faith; (2) the degree of
   prejudice, if any, to the defendant; and (3) whether the prejudice to the defendant can be cured with
   a less severe course of action, such as granting a continuance or a recess.” Id.; see also Ganier, 468
   F.3d at 927.
   B. Testimony of Forensic Chemists at Trial
           The district court held that the government’s “Notice of Expert Testimony Pursuant to Rule
   16 of the Federal Rules of Criminal Procedure,” filed on March 28, 2006, met the requirements of
   Federal Rule of Criminal Procedure 16(a)(1)(G). Davis argues that the government failed to comply
   with Rule 16(a)(1)(G) because it did not provide the bases for the chemists’ results, something
   clearly required after the 1993 Amendments to the Federal Rules of Criminal Procedure. Also,
   Davis argues that the government was obligated to comply with the pre-trial discovery order.
          Rule 16(a)(1)(G) states:
          Expert witnesses.—At the defendant’s request, the government must give to the
          defendant a written summary of any testimony that the government intends to use
          under Rules 702, 703, or 705 of the Federal Rules of Evidence during its
          case-in-chief at trial. . . . The summary provided under this subparagraph must

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          describe the witness’s opinions, the bases and reasons for those opinions, and the
          witness’s qualifications.
   FED. R. CRIM. P. 16(a)(1)(G). The Advisory Committee Notes (“Notes”) for Rule 16 state in
   relevant part:
          [T]he requesting party is entitled to a summary of the expected testimony. This
          provision is intended to permit more complete pretrial preparation by the requesting
          party. For example, this should inform the requesting party whether the expert will
          be providing only background information on a particular issue or whether the
          witness will actually offer an opinion. In some instances, a generic description of the
          likely witness and that witness’s qualifications may be sufficient, e.g., where a DEA
          laboratory chemist will testify, but it is not clear which particular chemist will be
          available.
   FED. R. CRIM. P. 16, Advisory Committee Notes (1993 Amendment). In addition, in order to comply
   with Rule 16(a)(1)(G), the Notes specifically state that, “perhaps most important, the requesting
   party is to be provided with a summary of the bases of the expert’s opinion.” Id.
          Without regard to whether a party would be entitled to the underlying bases for
          expert testimony under other provisions of Rule 16, the amendment requires a
          summary of the bases relied upon by the expert. That should cover not only written
          and oral reports, tests, reports, and investigations, but any information that might be
          recognized as a legitimate basis for an opinion under Federal Rule of Evidence 703,
          including opinions of other experts.
   Id. If a party fails to comply with this rule, Rule 16 instructs that the Court “may” do any of four
   things: (1) “order that party to permit the discovery or inspection; specify its time, place, and
   manner; and prescribe other just terms and conditions;” (2) “grant a continuance;” (3) “prohibit that
   party from introducing the undisclosed evidence;” or (4) “enter any other order that is just under the
   circumstances.” FED. R. CRIM. P. 16(d)(2).
           We conclude that the district court incorrectly applied Rule 16(a)(1)(G) in this case because
   the government’s submissions did not adequately describe the “bases and reasons” for the chemists’
   opinions. See FED. R. CRIM. P. 16(a)(1)(G). The government provided defense counsel with four
   documents. First, the government provided defense counsel with a copy of the Tennessee Bureau
   of Investigation Knoxville Crime Laboratory Official Forensic Chemistry Report, dated August 19,
   2005. Second, the government attached a letter to the report indicating that if the case went to trial
   “[a] chemist [would] testify consistent with the laboratory report.” J.A. at 100 (10/11/05 Ltr. to
   Paula Voss at 2). In addition, the letter stated that “[t]he chemist’s testimony will be based on
   training, including formal education, and experience, including having conducted numerous such
   examinations.” Id. Third, upon the addition of another count to the indictment against the
   defendant, the government sent a letter to defense counsel on October 26, 2005 that included a copy
   of a second laboratory report related to the second count.
           Finally, on March 28, 2006, the government filed a “Notice of Expert Testimony Pursuant
   to Rule 16 of the Federal Rules of Criminal Procedure,” which described, in broad terms, the
   educational background of the chemists, their experience, and the basis of their findings. J.A. at 94-
   95. This document devoted one sentence to the bases for the opinions of the chemists: “The
   findings of each chemist are based upon his/her education, training, experience and scientific tests
   he/she performed on the substances submitted.” J.A. at 95. Chemist Silvers testified at the trial that
   the government did not ask her for her notes (serving as the basis for her conclusions) until the day



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   that she testified (after a request from the district judge). J.A. at 374, 473 (Trial Tr. at 239:9-16,
   338:9-24).
           We conclude that none of these documents adequately indicate the bases for the chemists’
   laboratory reports; if Davis had hired a chemist, he or she would not have been able to analyze the
   steps that led the government’s chemists to their conclusions. The prosecutors clearly violated Rule
   16(a)(1)(G). It was proper for the district court to request that the chemists provide their notes to
   Davis’s counsel. J.A. at 374-75, 377 (id. at 239:4, 240:6-9, 242:3-11). However, Davis’s counsel
   demonstrated his belief that the verdict would not have been different if the government had
   complied with the discovery rules by declining the district court’s offer of a recess to review the
   newly provided chemists’ notes and/or to obtain a chemist to testify on Davis’s behalf. J.A. at 377
   (id. at 242:6-13). Also, Davis did not, upon the invitation of the district court, suggest any
   alternatives to total suppression of the evidence. J.A. at 375-77 (id. at 240:23-241:1, 242:6-13).
   Finally, we note that, prior to trial, defense counsel should have been attuned to the implications of
   Federal Rule of Criminal Procedure 12(b).
                               IV. PROSECUTORIAL MISCONDUCT
   A. Standard of Review
          We review for abuse of discretion the district court’s denial of Davis’s motions for a mistrial
   based on prosecutorial misconduct. United States v. Wall, 130 F.3d 739, 745 (6th Cir. 1997).
   B. Contemporaneous Objections to Alleged Prosecutorial Misconduct
           The district court held in its Memorandum & Order of June 27, 2006, addressing the renewed
   motion for mistrial, that Davis had offered nothing to suggest that its ruling denying a motion for
   mistrial made during the trial, J.A. at 286 (Trial Tr. at 151:3-21), “was legally erroneous”; therefore,
   it concluded, as it did during the trial, that the curative instructions to the jury removed any harm,
   such that a mistrial would not be necessary. J.A. at 28-29 (Dist. Ct. Op. at 6-7). Davis argues that
   “there were several instances of improper vouching for government witnesses,” and that the
   government “made several statements designed to cover up the inconsistencies in the testimony of
   their witnesses and bolster their credibility.” Appellant Br. at 36-37.
          When we review claims of prosecutorial misconduct, we determine whether the prosecutor’s
   statements were both improper and flagrant. Broom v. Mitchell, 441 F.3d 392, 412 (6th Cir. 2006).
   Prosecutors should put forth only “proper arguments based on the evidence in the record.” Id.
   (quoting Bates v. Bell, 402 F.3d 635, 641 (6th Cir.), cert. denied, 546 U.S. 865 (2005)). “Also, they
   must obey the cardinal rule that a prosecutor cannot make statements calculated to incite the
   passions and prejudices of the jurors.” Id. (internal quotation marks omitted). “Finally, we have
   held that a prosecutor may not make improper comments ‘designed to completely undercut the
   defendant’s sole mitigation theory, effectively denying him fair jury consideration.’” Id. (quoting
   DePew v. Anderson, 311 F.3d 742, 749 (6th Cir. 2002), cert. denied, 540 U.S. 938 (2003)).
            We examine four factors when determining flagrancy: “(1) the likelihood that the remarks
   of the prosecutor tended to mislead the jury or prejudice the defendant; (2) whether the remarks were
   isolated or extensive; (3) whether the remarks were deliberately or accidentally made; and (4) the
   total strength of the evidence against the defendant.” Id. (quoting Bates, 402 F.3d at 641). “To
   reverse a conviction because of an improper non-flagrant statement, a reviewing court must
   determine that: 1) the proof of the defendant’s guilt is not overwhelming; 2) the defense counsel
   objected; and 3) the trial court failed to cure the impropriety by failing to admonish the jury.”
   United States v. Tocco, 200 F.3d 401, 420-21 (6th Cir.), cert. denied, 539 U.S. 926 (2003).



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           We “will not overturn a verdict unless the prosecutorial misconduct is ‘so pronounced and
   persistent that it permeate[d] the entire atmosphere of the trial, . . . or so gross as probably to
   prejudice the defendant.’” Id. at 421 (quotation omitted); Mason v. Mitchell, 320 F.3d 604, 635 (6th
   Cir. 2003). “[A] criminal conviction is not to be lightly overturned on the basis of a prosecutor’s
   comments standing alone, for the statements or conduct must be viewed in context; only by so doing
   can it be determined whether the prosecutor’s conduct affected the fairness of the trial.” United
   States v. Young, 470 U.S. 1, 11 (1985).
           We conclude that the district court did not abuse its discretion by denying the motion for
   mistrial based on Cook’s statement. We appreciate that Cook personally acknowledged at oral
   argument that his statement was inappropriate. Although it was improper for Cook to insinuate that
   Davis would not have been prosecuted (as Bolden was not) if he was not truly guilty, the district
   court did not abuse its discretion by denying the motion for a mistrial because the statement was not
   flagrant and the district court immediately gave a cautionary instruction.
            Davis was prejudiced by the inference that he would not have been charged, as Bolden was
   not, if the prosecutor had known him to be innocent. Also, the evidence against Davis centered on
   his possession (or constructive possession) of cocaine; Cook’s statement may have improperly
   influenced the jury to believe that if there were any doubt about whether the cocaine belonged to
   Davis, the young women (Ranisha Ewing and Geisha Bolden) would be going through criminal
   proceedings as well. In addition, the young women were the only witnesses who could testify as
   to the possession   issue of August 24, 2005. However, Cook’s statement was isolated and not
   deliberate.3 In addition, the district court immediately instructed the jury “to disregard any
   comments just made by Mr. Cook in response to Mr. Oldham’s questions” and repeated this
   instruction twice later in the trial as well. J.A. at 28-29 (Mem. & Order at 6-7); J.A. at 271-72, 277-
   78 (Trial Tr. at 136:14-137:2, 142:16-143:3). Based on the foregoing, we conclude that, although
   Cook made an improper statement, there is no basis for us to hold that the district court abused its
   discretion by not declaring a mistrial.
                                          V. PLAIN-ERROR REVIEW
   A. Standard of Review
           “[P]rosecutorial misconduct may be so exceptionally flagrant that it constitutes plain error,
   and is grounds for reversal even if the defendant did not object to it.” United States v. Carter, 236
   F.3d 777, 783 (6th Cir. 2001) (quoting United States v. Carroll, 26 F.3d 1380, 1385 n.6 (6th Cir.
   1994)). As the Supreme Court has held, “[t]he plain-error doctrine of Federal Rule of Criminal
   Procedure 52(b) tempers the blow of a rigid application of the contemporaneous-objection
   requirement.” Young, 470 U.S. at 15 (footnote omitted). Rule 52(b) states: “A plain error that
   affects substantial rights may be considered even though it was not brought to the court’s attention.”
   FED. R. CRIM. P. 52(b).
            The Rule authorizes the Courts of Appeals to correct only “particularly egregious
            errors,” those errors that “seriously affect the fairness, integrity or public reputation
            of judicial proceedings.” In other words, the plain-error exception to the
            contemporaneous-objection rule is to be “used sparingly, solely in those
            circumstances in which a miscarriage of justice would otherwise result.”


            3
             Indeed, his initial response to defense counsel’s fourth instance of questioning the witness about the
   prosecution of Ewing was to raise an objection: “Objection. Asked and answered. There is no prosecution. It has been
   established and covered and covered and covered.” J.A. at 270 (Trial Tr. at 135:5-7). Cook’s frustration is palpable,
   and we find it difficult to label his improper statement that followed as “deliberately” said, as opposed to being said
   inappropriately in frustration.

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   Young, 470 U.S. at 15 (citations omitted). To show plain error, “there must be (1) ‘error,’ (2) that
   is ‘plain,’ and (3) that ‘affect[s] substantial rights.’” United States v. Bailey, 488 F.3d 363, 368 (6th
   Cir.) (quoting Johnson v. United States, 520 U.S. 461, 467 (1997) (alteration in original) (quoting
   United States v. Olano, 507 U.S. 725, 732 (1993))), cert. denied, – U.S. –, 128 S. Ct. 507 (2007).
   “Generally, an error does not affect substantial rights unless it is prejudicial–in other words, the error
   ‘must have affected the outcome of the district court proceedings.’” Id. (quoting Olano, 507 U.S.
   at 734). If the defendant establishes the first three conditions, then “an appellate court may then
   exercise its discretion to notice a forfeited error, but only if (4) the error ‘seriously affect[s] the
   fairness, integrity, or public reputation of judicial proceedings.’” Id. (quoting Johnson, 520 U.S. at
   467 (alteration in original) (internal quotation marks omitted) (quoting Olano, 507 U.S. at 732)).
   B. Non-Contemporaneous Objections to Alleged Prosecutorial Misconduct
           We conclude that, because the plain-error doctrine of Rule 52(b) should be used only to
   correct particularly egregious errors, the three allegedly improper statements made by the
   prosecution that defense counsel challenged on appeal (but did not contemporaneously object to
   during the trial) do not result in plain error. Even if each statement at issue met the first three parts
   of the Olano analysis, each fails to meet the fourth part.
           First, defense counsel raises for the first time on appeal prosecutor Plowell’s statements
   during closing argument regarding the confusion of government witness Ewing. Viewed from the
   perspective of the transcript as a whole, Plowell’s statements aimed to summarize the confusion that
   ensued when Ewing took the stand; she attempted to rehabilitate Ewing by inferring from the facts
   presented that the witness did not have a reason to lie because she had not been given a “deal.” See
   Carter, 236 F.3d at 784 (“[C]ounsel has the freedom at trial to argue reasonable inferences from the
   evidence . . .”). Plowell’s efforts to argue for Ewing’s credibility when the defense counsel stated
   during the trial that Ewing was receiving something from the government in exchange for her
   testimony may have stepped over the line of zealous advocacy by insinuating what the prosecutor’s
   personal beliefs were, but her statements were not plain error so egregious that the “fairness,
   integrity or public reputation” of the proceeding were affected. See Young, 470 U.S. at 15 (citation
   omitted). The prosecutor did not offer her personal opinion based on facts that were not before the
   jury. See United States v. Brennan, 326 F.3d 176, 183 (3d Cir.), cert. denied, 540 U.S. 898 (2003).
   Therefore, we decline to find plain error warranting reversal based on this comment.
           Second, Cook’s statement during closing argument regarding Gilreath and Fortner, two of
   the officers involved in this case, responded to defense counsel’s insinuations during trial that
   Gilreath and Fortner would lie or fabricate evidence. See J.A. at 226, 230, 308-11, 314 (Trial Tr.
   at 91:3-17, 95:11-15, 173:1-176:22, 179:2-25). Cook stated that it was “offensive” for defense
   counsel to argue that public servants who “risk their lives every day” would fabricate evidence or
   lie. J.A. at 819 (Trial Tr. at 47:1-8). Although these statements may have been in error, they were
   not so “egregious” that they affected the “fairness, integrity or public reputation” of the proceedings
   as a whole. Young, 470 U.S. at 15 (quotations omitted).
           Finally, we have held previously that a prosecutor’s use of the term “predator” in reference
   to a defendant does not deprive the defendant of a fair trial in certain circumstances. Byrd v. Collins,
   209 F.3d 486, 536 (6th Cir.) (holding that the defendant was not deprived of a fair trial under the
   circumstances despite the fact that the prosecutor referred to the defendant as a predator three times
   during closing argument), cert. denied, 531 U.S. 1082 (2001). Although Cook may have
   inappropriately insinuated what his personal assessment was of Davis’s character, he reminded the
   jury immediately that it was their “job to make credibility determinations.” J.A. at 821 (Trial Tr.
   at 52:6-12). Based on the foregoing, we conclude that this was not an error so egregious that a
   “miscarriage of justice” would result from the comment.



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                                           VI. CONCLUSION
           First, because the officers involved formed a reasonable and articulable suspicion before
   approaching Davis on both March 9, 2005 and August 24, 2005, we AFFIRM the district court’s
   denial of Davis’s motion to suppress the evidence of illegal drug activity found on both those
   occasions. Second, although the prosecutor violated Federal Rule of Criminal Procedure
   16(a)(1)(G), we AFFIRM the district court’s ruling because Davis’s counsel did not demonstrate
   that the verdict would have been different if the government had complied with the discovery rules.
   Third, because the government’s statement, to which defense counsel objected during trial, was
   improper but not flagrant, and the district court provided several cautionary instructions to the jury,
   we AFFIRM the district court’s denial of a motion for mistrial based on the statement. Finally,
   because each of the three statements made by the government to which Davis objects for the first
   time on appeal do not rise to the level of seriously affecting “the fairness, integrity or public
   reputation of judicial proceedings,” we do not find that the statements constitute plain error.
   Therefore, we AFFIRM the district court’s judgment.




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